             Case 4:18-cv-00342-KGB Document 124-4 Filed 04/29/20 Page 1 of 4




    Michael A. Cantrell                                                               Direct Dial: (501) 682-2401
    Assistant Solicitor General                                                        Facsimile: (501) 682-8162
    323 Center Street, Suite 200                                              Michael.Cantrell@ArkansasAG.gov
    Little Rock, AR 72201

                                                     April 18, 2020

    Matthew A. Kezhaya
    Kezhaya Law PLC
    1202 North East McClain Road
    Bentonville, AR 72712
    Counsel for Satanic Temple Intervenors

             Re:     Cave v. Thurston, Case No. 4:18CV342 KGB, Various Discovery Matters

    Dear Matthew,

    I write regarding various discovery matters.

    First, I write to confer in good faith concerning three of your March 1, 2020 responses to
    Defendant’s third set of discovery requests.

    RFPs nos. 8 and 9 request production of correspondence between either Doug Misicko or
    Cevin Soling, on one hand, and either Erika Robbins or Mason Hargett, on the other, that
    relate to the Satanic Temple or its activities, the Ten Commandments monument, the
    Baphomet statue, or this litigation. This correspondence will shed light on, among other
    relevant issues, the absence of any Satanic Temple presence or activity in Arkansas before
    2016, Intervenors’ efforts to generate the appearance of opposition to the Ten
    Commandments monument and of support for the Baphomet monument, Intervenors’
    purposes for attending the installation of the Ten Commandments monument, Intervenors’
    alleged efforts to obtain support for the Baphomet monument in the General Assembly, and
    Intervenors’ efforts concerning, and purposes for, bringing the Baphomet statue to the
    Arkansas State Capitol grounds in August 2018.

    Your answers to RFPs nos. 8 and 9 indicate that you have identified responsive documents
    and that you object on the grounds of the attorney-client and work-product doctrines for
    RFP no. 8, but only the work-produce doctrine for RFP no. 9. Such doctrines do not apply
    to correspondence between the non-attorneys Doug Misicko, Cevin Soling, Erika Robbins,
    and Mason Hargett. In any case, I note that you have produced no privilege log under Rule
    26(b)(5) for the documents that you indicate you have identified.
                                 323 Center Street, Suite 200, Little Rock, AR 72201
                                      (501) 682-2007 | oag@ArkansasAG.gov
AGRutledge    AGLeslieRutledge    AGLeslieRutledge      Attorney General Leslie Rutledge   ArkansasAG   AGRutledge
        Case 4:18-cv-00342-KGB Document 124-4 Filed 04/29/20 Page 2 of 4
Page 2 of 4


Please note that, in case there is any question, Defendant specifically limits the duration of
RFPs 8 and 9 to the timeframe of January 1, 2015, to the present.

RFP no. 10 requests a copy of Mr. Misicko’s remarks at the Satanic Temple’s official
Baphomet unveiling in Detroit, Michigan, on July 25, 2015. Defendant’s request is
specifically limited in scope to records of Mr. Misicko’s July 25, 2015 remarks. These
remarks are plainly relevant to this litigation, as Mr. Misicko himself testified during his
deposition that “My speech was directed, I believe, at the meaning and significance of the
Baphomet monument. . . . I believe it ran -- I probably would have kept it under three
minutes long, but just something to emphasize to people what the significance of this, this
moment is.” Misicko Depo. at 114.

Your answer to RFP no. 10 objects only “[t]o the extent this request purports to seek
communications among the intervenors pertaining to this litigation.” Your answer indicates
that you have identified responsive items and that you object on the grounds of the attorney-
client and work-product doctrines. As explained above, these doctrines are inapplicable to
non-attorneys. And in any case you have produced no privilege log under Rule 26(b)(5) for
the documents that you indicate you have identified. Further, while communications about
Mr. Misicko’s remarks certainly would be responsive to the request, the request also would
include other records of Mr. Misicko’s remarks—which you have not objected to providing.

Your “general objections” to RFPs nos. 8, 9, and 10 on the basis of a claimed qualified
associational privilege and the Scottsdale case do not apply because Defendant has not
requested information that would identify a membership or donor list and the Scottsdale
case has no bearing on the issues implicated by Defendant’s RFPs nos. 8, 9, and 10.

Please produce the items requested in Defendant’s RFPs nos. 8, 9, and 10 immediately. In
any case, please respond concerning these issues no later than next Wednesday, April 22,
2020.

Second is a follow-up on the Court’s March 1 order and Defendant’s March 17 and April 10
good-faith correspondence. I have received no response from you to either of my previous
attempts to discuss these matters. Further, on April 17 the Court issued the protective order
agreed to by the parties. DE 122. Therefore, please immediately produce the outstanding
items from the Court’s order:

      current bylaws, operating agreements, and analogous documents for the Satanic
       Temple and its affiliates, DE 116 at 20; and
      state and federal tax returns for 2015, 2016, 2017, and 2018 for the Satanic Temple
       and its affiliates, DE 116 at 21-24.
I note that in your April 10, 2020 supplemental response to RFP no. 3 of Defendant’s first
discovery requests, you suggest that Defendant is required “to issue new discovery requests
to the entities which the State seeks tax returns.” This is incorrect. The Court has never
        Case 4:18-cv-00342-KGB Document 124-4 Filed 04/29/20 Page 3 of 4
Page 3 of 4


directed Defendant to serve new discovery requests in order to obtain the items falling
within the scope of Defendant’s request. Rather, the Court ordered the Satanic Temple to
produce these items for the Satanic Temple and its affiliates. Those affiliates include the
United Federation of Churches, LLC; Reason Alliance, Ltd.; the Satanic Temple, Inc.; and
Cinephobia, LLC. I remind you that Mr. Misicko testified for all of these entities during his
30(b)(6) deposition as representative of the Satanic Temple, thereby identifying them with
the Satanic Temple and waiving any argument to the contrary. Further, you are on record
agreeing that these entities are identified with the Satanic Temple. See Misicko Depo. at 163.
Please immediately produce the outstanding items from the Court’s order. In any case,
please respond concerning these issues no later than next Wednesday, April 22, 2020.
Third, several months ago you served discovery responses that were unsigned. The Court’s
March 1 order required you to sign those responses within 14 days, which you failed to do.
After my March 17 and April 10 good-faith correspondence, I did finally receive from you
two signed acknowledgments, one by Erika Robbins and one by Doug Misicko. But you still
have not provided a signed verification for the Satanic Temple’s discovery responses. Please
immediately provide a signed verification for the Satanic Temple’s discovery responses, and
in any case no later than next Wednesday, April 22, 2020.
Fourth, Defendant’s second supplemental disclosures contain documents that are potentially
responsive to some requests in the Satanic Temple’s first and second sets of discovery.
Without waiving and subject to objections previously stated, batestamped pages 0953-1383
are potentially responsive to RFPs nos. 14 and 15 of your first requests concerning minutes
for meetings pertaining to the Ten Commandments and Act 274 of 2017. Further, without
waiving and subject to objections previously stated, materials newly received by Defendant
and produced in batestamped pages 1717-1754 are potentially responsive to RFP no. 3 of
your second requests.
Thank you for your attention to these matters.
                                           Respectfully,

                                           Michael A. Cantrell
                                           Assistant Solicitor General
        Case 4:18-cv-00342-KGB Document 124-4 Filed 04/29/20 Page 4 of 4
Page 4 of 4


                              CERTIFICATE OF SERVICE

      I, Michael A. Cantrell, certify that on April 18, 2020, I served the foregoing on all
counsel of record.

                                              /s/ Michael A. Cantrell
                                              Michael A. Cantrell
